As the result of three actions which arose from allegedly negligent operation of a motor-bus and a private automobile at an intersection of public thoroughfares, consolidated for the purposes of trial, judgments were rendered in favor of the plaintiffs. The defendants presented separate appeals therefrom upon the same transcript. The instant appeal is from one of said judgments, entered in favor of a passenger of said automobile.
[1] The questions involved herein are identical with those decided in the case of Harlow v. Motor Coach Co., (Civil No. 7246) ante, p. 728 [16 P.2d 779]. Upon the authority of that case, the judgment is affirmed.
  Works, P.J., and Stephens, J., pro tem., concurred. *Page 782 